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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                    CRIMINAL ACTION

VERSUS                                                                                    No. 15-68

JORGE PERRALTA, ET AL.                                                                 SECTION I


                                      ORDER AND REASONS

           Before the Court are four motions: (1) a motion 1 for new trial filed by defendant, Jorge

Perralta (“Perralta”); (2) a motion 2 for acquittal filed by defendant, Paul Norris (“Norris”); (3) a

motion 3 to arrest judgment filed by Norris; and (4) a motion 4 for new trial filed by Norris. The

government has filed a brief 5 opposing all of the motions. For the following reasons, the motions

should each be denied. The Court assumes factual and procedural familiarity with the case.

                                      STANDARDS OF LAW

    I.     Motion for new trial

           Rule 33(a) of the Federal Rules of Criminal Procedure states that, upon the defendant’s

motion, “the court may vacate any judgment and grant a new trial if the interest of justice so

requires.” Fed. R. Crim. P. 33(a); United States v. Wall, 389 F.3d 457, 466 (5th Cir. 2004).

“Motions for new trial are based either on the grounds that the verdict was against the weight of

the evidence or that some error was committed by the court or the prosecution which substantially

affects the rights of the accused.” United States v. Allen, No. 12-138, 2015 WL 1638039, at *3




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  R. Doc. No. 231.
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  R. Doc. No. 232.
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  R. Doc. No. 234.
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(E.D. La. Apr. 13, 2015) (Duval, J.) (citation omitted). A court “should not grant a motion for new

trial unless there would be a miscarriage of justice or the weight of the evidence preponderates

against the verdict.” Wall, 389 F.3d at 466; see also United States v. Piazza, 647 F.3d 559, 565

(5th Cir. 2011) (“[M]otions for new trial are disfavored and must be reviewed with great caution.”).

         Unlike the Rule 29 motion for a judgment of acquittal where the evidence must be viewed

in a light most favorable to the verdict, when determining whether to grant a Rule 33 motion, the

Court “may weigh the evidence and may assess the credibility of the witnesses during its

consideration of the motion for new trial.” United States v. Tarango, 396 F.3d 666, 672 (5th Cir.

2005). But a court “must not entirely usurp the jury’s function or simply set aside a jury’s verdict

because it runs counter to [the] result the district court believed was more appropriate.” Id.

 II.     Motion for acquittal

         “A motion for judgment of acquittal challenges the sufficiency of the evidence to convict.”

United States v. Lucio, 428 F.3d 519, 522 (5th Cir. 2005) (quoting United States v. Medina, 161 F

.3d 867, 872 (5th Cir. 1998)). Rule 29(a) of the Federal Rules of Criminal Procedure provides that

after the government closes its evidence or after the close of all evidence, on a defendant’s motion,

the court “must enter a judgment of acquittal of any offense for which the evidence is insufficient

to sustain a conviction.” When the defendant challenges the sufficiency of the evidence, the

relevant question is whether, after viewing the evidence in the light most favorable to the

prosecution, “any rational trier of fact could have found the essential elements of the crime beyond

a reasonable doubt.” United States v. Lopez–Urbina, 434 F.3d 750, 757 (5th Cir. 2005) (quoting

Jackson v. Virginia, 433 U.S. 307, 319 (1979)). The same test applies whether the government’s

case depends on direct or entirely circumstantial evidence. United States v. Thomas, 627 F.3d 146,

151 (5th Cir. 2010) (citing United States v. Clayton, 506 F.3d 405, 412 (5th Cir. 2007)).



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         When considering a motion for a judgment of acquittal, the Court considers the evidence,

all reasonable inferences drawn therefrom, and all credibility determinations in the light most

favorable to the Government. United States v. Ramos–Cardenas, 524 F.3d 600, 605 (5th Cir.

2008); see also United States v. Resio–Trejo, 45 F.3d 907, 910–11 (5th Cir. 1995). The Court does

not weigh the evidence or assess the credibility of witnesses. Ramos–Cardenas, 524 F.3d at 605.

The evidence need not exclude every reasonable hypothesis of innocence or be wholly inconsistent

with every conclusion except that of guilty, and the jury is free to choose among reasonable

constructions of evidence. Id.; see also Resio–Trejo, 45 F.3d at 911. The jury “retains the sole

authority to weigh any conflicting evidence and to evaluate the credibility of the witnesses.”

United States v. Loe, 262 F.3d 427, 432 (5th Cir. 2001) (citation and internal quotation marks

omitted).

III.     Motion to arrest judgment

         Rule 34 of the Federal Rules of Criminal Procedure provides that the court must arrest

judgment if “(1) the indictment or information does not charge an offense; or (2) the court does

not have jurisdiction of the charged offense.” United States v. Johnson, 363 F. App’x 305, 306

(5th Cir. 2010) (citing Fed. R. Crim. P. 34(a)). “An adequate indictment (1) enumerates each

prima facie element of the charged offense, (2) notifies the defendant of the charges filed against

him, and (3) provides the defendant with a double jeopardy defense against future prosecutions.”

United States v. Parasiris, 85 F. App’x 380, 381 (5th Cir. 2004) (internal quotations and citation

omitted).




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                                            ANALYSIS

       Both defendants were charged in count one of the second superseding indictment 6 with

conspiring to distribute and to possess with the intent to distribute five kilograms or more of

cocaine hydrochloride, a Schedule II controlled substance, and one kilogram or more of heroin, a

Schedule I controlled substance, in violation of 21 U.S.C. § 846. After a four day trial, the jury

found both defendants guilty as to count one. 7 The jury also found that five kilograms or more of

cocaine hydrochloride and one kilogram or more of heroin were attributable to Perralta. With

respect to Norris, the jury found that five kilograms or more of cocaine hydrochloride were

attributable to him, but that no amount of heroin was attributable to him.

       After reviewing all of the evidence, the reasonable inferences that can be drawn therefrom,

and the applicable law, the Court agrees, essentially for the reasons provided by the government,

that each of defendants’ motions are without merit. There was substantial and corroborated

evidence against both Perralta and Norris and the jury made its credibility determinations. Having

heard the testimony, the Court chooses not to second-guess those determinations. Accordingly,

and for the reasons set forth in the government’s brief in opposition, 8

       IT IS ORDERED that defendants’ motions are DENIED.



       New Orleans, Louisiana, April 8, 2016.



                                                  _______________________________________
                                                            LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE



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  R. Doc. No. 74.
7
  R. Doc. No. 225-3.
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  R. Doc. No. 236.

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